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UNITED STATES DISTRICT COUR'I`
WESTERN DISTRICT OF TENNESSEE

ROBERT R. DiTROLIO, CLERK

167 North Main Street ` 1 _
suite 242 03’3)@§@/

Memphis, TN 38103
901-495-1200

April 18, 2005
Cassandra Mann
4599 Mill Port Cove N.
Mernphis, TN 38116
RE: Refund of Cash Appearance Bond

Our records indicate that you have requested a refund of the cash appearance bond posted
in case number 2:O3cr20301. We will not be able to issue the refund at this time because:

d@_The defendant has not fully complied With the requirements of said bond and orders of this
Court. Once defendant has reported for service of imposed Sentence, motion may be renewed

gYours is not the name of the payee on the receipt.

Please feel free to contact our office With any questions regarding this matter at the address
or phone number listed above

Robert R. Di Trolio, )

Clerko ;ourt
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BY: st ' f

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:03-CR-20301 Was distributed by faX, mail, or direct printing on
April 18, 2005 to the parties listed.

 

 

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
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Ste. 800

l\/lemphis7 TN 38103

J Patten Brown

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

